                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF PUERTO RICO

In re:                                            Case No. 17-02727-MCF11

ADLER GROUP, INC.                                 Chapter 11

Debtor

   OMNIBUS OBJECTION TO CLAIMS BASED ON LACK OF SUPPORTING INFORMATION AS
    REQUIRED BY RULE 3001(b) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

TO THE HONORABLE UNITED STATES
BANKRUPTCY COURT:

         COMES NOW Debtor, represented by the undersigned counsel, and very respectfully avers and
prays as follows:
         1.    On April 20, 2017, Debtor filed a voluntary petition under the provisions of Chapter 11

of the Bankruptcy Code [Dkt. No. 1]. Debtor continues to operate its business and manage its affairs as

debtor in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

         2.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334. This

matter is a core proceeding pursuant to 28 U.S.C. 157 (b) (2).

         3.    The statutory bases for the relief sought herein are §§102, 105, and 502 of the

Bankruptcy Code and Rule 3007 of the Federal Rules of Bankruptcy procedure.

         4.    Prior to the commencement of the case Debtor maintained, in the ordinary course of

business, books and records reflecting its creditors and the amount owed thereto.

         5.    Debtor has conducted a review of the Proof of Claim No. 1-1 through 15-1 and compared

them to its books and records, and has identified a number that are objectionable on the basis that they

were filed without supporting information as required by Rule 3001 of the Federal Rules of Bankruptcy

Procedure (“FRBP”). Therefore, Debtor objects to the allowance of the claims listed below.

         6.    Claimants receiving this objection should locate their names and claims, where they will
find the grounds for the objection to each. The list is organized alphabetically and identifies the

classification of the claim as it was filed by each claimant, as directed by FRBP 3007(e).

                              Total       Classification    Amount
 Claimant        P.O.C.#     Amount        of Claim by     Expected to     Reason for Objection
                             Claimed        Claimant       be Allowed
AIG Property     10-1      Unliquidated   Unsecured        $0             Upon a review of the claim,
Casualty, Inc.                                                            the P.O.C. fails to set forth a
                                                                          claim, and contains no
                                                                          evidence in support of any
                                                                          claim. The proof of claim
                                                                          was not filed in accordance
                                                                          with the provisions of the
                                                                          Bankruptcy Rules, and, as
                                                                          such, it does not meet the
                                                                          standard to constitute prima
                                                                          facie evidence of the
                                                                          validity or extent of any
                                                                          alleged claim or amount
                                                                          purportedly owed.
                                                                          Furthermore, the proof of
                                                                          claim asserts no right to
                                                                          payment and contains no
                                                                          evidence in support of a
                                                                          claim, i.e., contract or
                                                                          agreement, or an itemized
                                                                          statement of account upon
                                                                          which the asserted claim is
                                                                          based. As such, the claim
                                                                          should be disallowed.

American         2-1       $21,514.60     Unsecured        $0             Upon a review of the claim,
Express Bank,                                                             the P.O.C. was filed without
FSB                                                                       supporting information as
                                                                          required by Rule 3001 of
                                                                          the Federal Rules of
                                                                          Bankruptcy Procedure, thus
                                                                          this P.O.C. was presented in
                                                                          a form that does not comply
                                                                          with applicable rules, and
                                                                          the Debtor is unable to
                                                                          determine the validity of the
                                                                          claim because of the
                                                                          noncompliance. As such,
                                                                          the claim should be
                                                                          disallowed.

Caguas           15-1      $12,302.75     Unsecured        $0             Upon a review of the claim,
Uniform                                                                   the P.O.C. contains no
                                                                          evidence in support of the
                                                                          claim, i.e., contract,
                                                                          agreement or court
                                                                          judgment evidencing the



                                                      2
                                                         purported claim, in
                                                         accordance with the
                                                         provisions of the
                                                         Bankruptcy Rules. As such,
                                                         the claim should be
                                                         disallowed.

Cristino       7-1    $57,500.00    Unsecured       $0   Upon a review of the claim,
Paniagua                                                 the P.O.C. contains no
Rosario                                                  evidence in support of the
                                                         claim, i.e., contract or
                                                         agreement evidencing the
                                                         purported loan, or an
                                                         itemized statement of
                                                         account upon which the
                                                         asserted claim is based, in
                                                         accordance with the
                                                         provisions of the
                                                         Bankruptcy Rules. As such,
                                                         the claim should be
                                                         disallowed.

Eric Alvarez   12-1   $113,302.94   Unsecured       $0   Upon a review of the claim,
Menendez                                                 the P.O.C. contains no
                                                         evidence in support of the
                                                         claim, i.e., contract or
                                                         agreement authorizing the
                                                         charges and fees included in
                                                         the claim and evidencing the
                                                         basis of the purported claim,
                                                         an itemized statement of
                                                         account as of the date of the
                                                         filing of Debtor's voluntary
                                                         petition with the amount of
                                                         the debt before the
                                                         bankruptcy filing date, upon
                                                         which the asserted claim is
                                                         based, in accordance with
                                                         the provisions of the
                                                         Bankruptcy Rules. As such,
                                                         the claim should be
                                                         disallowed.

Eric Alvarez   13-1   $264,000.00   Unsecured       $0   Upon a review of the claim,
Menendez                                                 the P.O.C. contains no
                                                         evidence in support of a
                                                         claim. The proof of claim
                                                         was not filed in accordance
                                                         with the provisions of the
                                                         Bankruptcy Rules, and, as
                                                         such, it does not meet the
                                                         standard to constitute prima
                                                         facie evidence of the
                                                         validity or extent of any
                                                         alleged claim or amount
                                                         purportedly owed.


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                                                                           Furthermore, the proof of
                                                                           claim contains no evidence
                                                                           in support of a claim, i.e.,
                                                                           contract or agreement, or an
                                                                           itemized statement of
                                                                           account upon which the
                                                                           asserted claim is based. As
                                                                           such, the claim should be
                                                                           disallowed.

Eric Alvarez   14-1       $967,000.00     Unsecured         $0             Upon a review of the claim,
Menendez                                                                   the P.O.C. contains no
                                                                           evidence in support of a
                                                                           claim. The proof of claim
                                                                           was not filed in accordance
                                                                           with the provisions of the
                                                                           Bankruptcy Rules, and, as
                                                                           such, it does not meet the
                                                                           standard to constitute prima
                                                                           facie evidence of the
                                                                           validity or extent of any
                                                                           alleged claim or amount
                                                                           purportedly owed.
                                                                           Furthermore, the proof of
                                                                           claim contains no evidence
                                                                           in support of a claim, i.e.,
                                                                           contract, agreement or
                                                                           judgment, or an itemized
                                                                           statement of account upon
                                                                           which the asserted claim is
                                                                           based. As such, the claim
                                                                           should be disallowed.



        WHEREFORE, it is respectfully that the proofs of claim listed in the preceding omnibus

objection be disallowed, with any other remedy that the Court may deem just and proper.

                                                 NOTICE

        Within thirty (30) days after service as evidenced by the certification, and an additional three (3)
days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom this
objection has been served, or any other party to the action who objects to the relief sought herein, shall
serve and file an answer or other appropriate response to this objection with the Clerk’s office of the
U.S. Bankruptcy Court for the District of Puerto Rico. If no answer or other response is filed within the
time allowed herein, the objection will be deemed unopposed and may be granted unless: (i) the
requested relief is forbidden by law; (ii) the requested relief is against public policy; or (iii) in the
opinion of the Court, the interest of justice requires otherwise.


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       CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all participants of CM/ECF, including the Office of the United States Trustee and by

regular mail pre-paid postage as per the attached list to each affected claimant.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 11th day of January 2018.

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